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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN RE FIRSTENERGY CORP. SECURITIES                  Case No. 2:20-cv-03785-ALM-KAJ
 LITIGATION,
                                                     Chief Judge Algenon L. Marbley
 This document relates to:
                                                     Magistrate Judge Kimberly A. Jolson
       ALL ACTIONS.


   DECLARATION OF VERONICA E. CALLAHAN IN SUPPORT OF DEFENDANT
 LEILA VESPOLI’S MOTION TO DISMISS THE CONSOLIDATED COMPLAINT AND
  JOINDER IN THE MOTION TO DISMISS OF THE FIRSTENERGY DEFENDANTS


        I, Veronica E. Callahan, pursuant to 28 U.S.C. §1746, hereby declare under penalty of

 perjury as follows:

        1.      I am an attorney licensed to practice law in the State of New York and admitted pro

 hac vice in this action. I am a partner at the law firm of Arnold & Porter Kaye Scholer LLP and

 counsel of record for Defendant Leila L. Vespoli.

        2.      I submit this declaration to authenticate copies of materials to be considered in

 connection with Defendant Leila Vespoli’s Motion to Dismiss the Consolidated Complaint and

 Joinder in the Motion to Dismiss of the FirstEnergy Defendants filed by Defendants FirstEnergy

 Corp. (“FirstEnergy”), James F. Pearson, Steven E. Strah, K. Jon Taylor, Jason J. Lisowski,

 George M. Smart, Paul T. Addison, Michael J. Anderson, Steven J. Demetriou, Julia L. Johnson,

 Donald T. Misheff, Thomas N. Mitchell, James F. O’Neil III, Christopher D. Pappas, Sandra

 Pianalto, Luis A. Reyes, Jerry Sue Thornton, and Leslie M. Turner.

        3.      Attached as Exhibit 1 is a true and correct copy of FirstEnergy’s Form 8-K dated

 as of July 17, 2018 and filed on July 23, 2018.
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        4.     Attached as Exhibit 2 is a true and correct copy of a press release from the State of

 Ohio dated February 4, 2019, entitled “Governor DeWine Selects Randazzo Next Chairman of the

 Public Utilities Commission of Ohio,” available at https://ohio.gov/wps/portal/gov/site/media-

 center/news-and-events/020419.

        5.     Attached as Exhibit 3 is a true and correct copy of a Form 4 filing for Leila L.

 Vespoli dated March 5, 2018, reporting transactions made on March 1, 2018.

        6.     Attached as Exhibit 4 is a true and correct copy of a Form 4 filing for Leila L.

 Vespoli dated March 5, 2019, reporting transactions made on March 1, 2019.

        7.     Attached as Exhibit 5 is a true and correct copy of a Form 4 filing for Leila L.

 Vespoli dated February 22, 2017, reporting transactions made on February 21, 2017.

        I declare under penalty of perjury that the foregoing is true and correct, based on my

 knowledge, information, and belief.



 Dated: May 18, 2021
        New York, New York
                                                 /s/ Veronica E. Callahan
                                                 Veronica E. Callahan (admitted pro hac vice)




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                                   CERTIFICATE OF SERVICE

         I hereby certify that the foregoing was electronically filed on May 18, 2021. Notice of this

 filing will be sent to all electronically registered parties by operation of the Court’s electronic filing

 system. Parties may access this filing through the Court’s system.



                                                      /s/ Veronica E. Callahan
                                                      Veronica E. Callahan (admitted pro hac vice)

                                                      Counsel for Defendant Leila L. Vespoli




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